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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION


      UNITED STATES OF AMERICA                           *
                                                         *

      V.                                                 *          CRIMINALNO.
                                                         *

      CECILY ANN AGUILAR                                 *


                                ORDER FOR ISSUANCE OF WRIT OF
                               HABEAS CORPUS AD PROSEOUENDUM

           Came on the application of the United States of America, representing that this cause is set for

hearing in Waco, Texas, on the                  day of July, 2020; that the Defendant is now incarcerated,

and in the custody of the Sheriff, Bell County, Texas; that justice demands Defendant's presence at such

proceedings; and the Government prays the Court to direct the issuance of a Writ of Habeas Corpus Ad

Prosequendum for the attendance of said Defendant; and the Court, being of the opinion that the

application should be granted; it is, therefore,

           ORDERED that the Clerk issue a Writ of Habeas Corpus Ad Prosequendum addressed to the

Sheriff, Bell County, Texas, directing that said Defendant be delivered into the custody of the United

States Marshal, and directing the Marshal to bring the Defendant before this Court in Waco, Texas, on

the    (           day of July, 2020, at     C0    &M., for the purpose of said hearing, and any further
proceedings to be had in this cause and at the conclusion of said proceedings to return said Defendant to

the custody of the Sheriff, Bell County, Texas.

           SIGNED and ENTERED at Waco, Texas, on this 2' day of July, 2020.


                                                     (       1L'd         /
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                                                  JEFF1XC. MANSKE
                                                  UNITED STATES MAGISTRATE JUDGE
